Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 1 of 20




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

 ATLANTIC RECORDING CORPORATION;
 ATLANTIC RECORDS GROUP LLC; WARNER
 RECORDS INC.; ASYLUM WORLDWIDE LLC;
 BAD BOY RECORDS LLC; RHINO
 ENTERTAINMENT COMPANY; RHINO
 ENTERTAINMENT LLC; SPINNIN RECORDS
 B.V.; WARNER MUSIC INTERNATIONAL
 SERVICES LIMITED; WARNER MUSIC
 LATINA INC.; GENE AUTRY'S WESTERN
 MUSIC PUBLISHING CO.; UNICHAPPELL
 MUSIC INC.; W CHAPPELL MUSIC CORP.;
 WARNER CHAPPELL MUSIC, INC.; and
 WARNER-TAMERLANE PUBLISHING CORP.

                Plaintiffs,

        vs.

 VITAL PHARMACEUTICALS, INC. d/b/a BANG
 ENERGY, JACK OWOC and DOES 1-10,

                Defendants.


                                            COMPLAINT
        Plaintiffs Atlantic Recording Corporation, Atlantic Records Group LLC, Warner Records

 Inc., Asylum Worldwide LLC, Bad Boy Records LLC, Rhino Entertainment Company, Rhino

 Entertainment LLC, Spinnin Records B.V., Warner Music International Services Limited, Warner

 Music Latina Inc., Gene Autry’s Western Music Publishing Co., Unichappell Music Inc., W

 Chappell Music Corp., Warner Chappell Music, Inc., and Warner-Tamerlane Publishing Corp.

 (collectively, “Plaintiffs”), by and through their attorneys, allege as follows:

                                         INTRODUCTION
        1.      All Plaintiffs are related affiliates of Warner Music Group Corp. (“WMG”), one

 of the world’s largest music entertainment companies. Through its affiliated recorded music and

 music publishing companies, including Plaintiffs, WMG produces, manufactures, distributes,

 sells, and licenses a legion of iconic and popular sound recordings and musical compositions.
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 2 of 20



 These works include legendary sound recordings and musical compositions of the past, as well

 as many of today’s biggest hits.

          2.      Defendant Vital Pharmaceuticals, Inc. d/b/a Bang Energy (“Bang”) markets, sells,

 and distributes energy drinks, sports and nutrition supplements, apparel, and accessories, and

 claims to be “the nation’s leading energy and lifestyle brand.”1

          3.      Defendant Jack Owoc (“Owoc,” and collectively with Bang and Does 1-10,

 “Defendants”) is Bang’s founder, CEO, Chief Scientific Officer, and owner.

          4.      Defendants have achieved widespread commercial success by infringing

 Plaintiffs’ copyrighted sound recordings and musical compositions on a massive scale.

          5.      Defendants have largely eschewed traditional advertising, relying instead upon

 promotion of Bang’s products through social media websites and mobile applications such as

 Instagram, TikTok, and Facebook.

          6.      Defendants’ primary use of these platforms is to post or facilitate the posting of

 videos demonstrating use of Bang’s products. These videos (each, a “Bang Video,” and

 collectively, the “Bang Videos”) feature popular sound recordings and musical compositions as

 integral parts of the presentation; indeed, there is typically no speaking or sound in the videos

 other than the music integrated into the video.

          7.      While these social media “commercials” have been instrumental to Bang’s

 success, Defendants have not paid to use the sound recordings and musical compositions that are

 featured in them. Defendants have misappropriated nearly two hundred of Plaintiffs’ most

 popular and valuable sound recordings and musical compositions (the “Copyrighted Musical

 Works”), including sound recordings and musical compositions featuring such chart-topping and

 award-winning artists as Bruno Mars, Cardi B, Dua Lipa, Jack Harlow, Lizzo, Saweetie, and Van

 Halen. Bang has used the Copyrighted Musical Works to drive sales to Bang and increase Bang’s

 brand awareness and profile without any compensation to Plaintiffs.



 1
     See https://bangenergy.com/about/ (last visited August 26, 2022).



                                                   2
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 3 of 20



        8.       As part of their infringing marketing efforts, Defendants have partnered with

 “influencers” – individuals who create infringing Bang Videos and post those videos on their

 own pages, some of which Defendants then repost on Bang’s social media pages. Defendants

 compensate these influencers with free product, commissions, discounts, and/or direct monetary

 payment, sometimes tied to Bang’s sales of the product(s) featured in the Bang Videos.

        9.       Plaintiffs’ sound recordings and musical compositions, including the Copyrighted

 Musical Works, are protected by copyright law, which grants the copyright owner the exclusive

 right to, among other things, reproduce, distribute, and create derivative works of those

 copyrighted works, to publicly perform musical compositions, and to digitally transmit sound

 recordings to the public. An important portion of Plaintiffs’ return on their investment in sound

 recordings and musical compositions, which they share with their exclusive recording artists and

 songwriters, comes from licensing sound recordings and musical compositions to others who use

 Plaintiffs’ musical works in videos, films, television shows, commercials, video games, and on

 social media, with the glaring exception of Defendants, who have done so without a license.

        10.      Defendants’ conduct, in which they take and exploit Plaintiffs’ valuable

 intellectual property without any compensation to Plaintiffs or their respective recording artists

 and/or songwriters, has caused Plaintiffs substantial and irreparable harm. Plaintiffs bring this

 action to obtain redress for Defendants’ infringement of Plaintiffs’ valuable rights and to prevent

 further violations of those rights.

                                   JURISDICTION AND VENUE

        11.      The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 1338(a), insofar as this action arises under the Copyright Act of 1976, 17 U.S.C. §§ 101 et seq.

        12.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 28 U.S.C.

 § 1400(a).

        13.      The Court has personal jurisdiction over Defendants because, among other things:

 (a) Bang is a Florida corporation with its principal place of business in this state and this District;

 (b) on information and belief, Owoc is domiciled in this state and this District; (c) Defendants




                                                    3
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 4 of 20



 have been doing business continuously in and maintain a regular presence in this state and this

 District; (d) a substantial part of the wrongful acts occurred within this state and this District; and

 (e) the effects of Defendants’ unlawful conduct are directed toward and felt in this state and this

 District.

                                            THE PARTIES

 Plaintiffs

         14.     Plaintiff Atlantic Recording Corporation is a Delaware corporation with its

 principal place of business at 1633 Broadway, New York, New York.

         15.     Plaintiff Atlantic Records Group LLC is a Delaware limited liability company

 with its principal place of business at 1633 Broadway, New York, New York.

         16.     Plaintiff Warner Records Inc. is a Delaware corporation with its principal place

 of business at 777 S. Santa Fe Avenue, Los Angeles, California.

         17.     Plaintiff Asylum Worldwide LLC is a Delaware limited liability company with

 its principal place of business at 1633 Broadway, New York, New York.

         18.     Plaintiff Bad Boy Records LLC is a Delaware limited liability company with its

 principal place of business at 1633 Broadway, New York, New York.

         19.     Plaintiff Rhino Entertainment Company is a Delaware corporation with its

 principal place of business at 777 S. Santa Fe Avenue, Los Angeles, California.

         20.     Plaintiff Rhino Entertainment LLC is a Delaware limited liability company with

 its principal place of business at 777 S. Santa Fe Avenue, Los Angeles, California.

         21.     Plaintiff Spinnin Records B.V. is a company organized and existing under the

 laws of the Netherlands, with its principal place of business at Marathon 4, Hilversum, The

 Netherlands.

         22.     Plaintiff Warner Music International Services Limited is a limited liability

 company organized and existing under the laws of England and Wales, with its principal place

 of business at 27 Wrights Lane, London, England.




                                                    4
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 5 of 20



        23.     Plaintiff Warner Music Latina Inc. is a Delaware corporation with its principal

 place of business at 555 Washington Avenue, Miami Beach, Florida.

        24.     Plaintiff Gene Autry’s Western Music Publishing Co. is a California corporation

 with its principal place of business at 777 S. Santa Fe Avenue, Los Angeles, California.

        25.     Plaintiff Unichappell Music Inc. is a Delaware corporation with its principal place

 of business at 777 S. Santa Fe Avenue, Los Angeles, California.

        26.     Plaintiff W Chappell Music Corp. is a California corporation with its principal

 place of business at 777 S. Santa Fe Avenue, Los Angeles, California.

        27.     Plaintiff Warner Chappell Music, Inc. is a Delaware corporation with its principal

 place of business at 777 S. Santa Fe Avenue, Los Angeles, California.

        28.     Plaintiff Warner-Tamerlane Publishing Corp. is California corporation with its

 principal place of business at 777 S. Santa Fe Avenue, Los Angeles, California.

 Defendants

        29.     Defendant Vital Pharmaceuticals, Inc. d/b/a Bang Energy is a Florida corporation

 with its principal place of business at 1600 North Park Drive, Weston, Florida.

        30.     Defendant Jack Owoc is the founder, CEO, Chief Scientific Officer, and owner

 of Bang, and a citizen of Florida.

        31.     Defendants Does 1 through 10 own, operate or are affiliates, agents, or employees

 of Bang, and/or are otherwise responsible for and proximately caused and are causing the harm

 and damages alleged in this Complaint. Plaintiffs are presently unaware of the true names and/or

 the involvement of Defendants sued herein by the fictitious designations Does 1 through 10, and

 for that reason, sue them by those designations. Plaintiffs will seek leave to amend this pleading

 to identify those Defendants when their true names and involvement in the infringements and

 other wrongful conduct hereinafter described are known.

                          DEFENDANTS’ INFRINGING CONDUCT

        32.     Bang sells energy drinks, nutrition supplements, apparel, and accessories. It was

 founded in 1993 by Owoc, who remains its CEO.




                                                  5
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 6 of 20



        33.       In recent years, Bang has experienced extraordinary growth. Bang’s energy

 drinks are now the third highest-selling brand of energy drink in the United States, and Bang

 achieved net sales of approximately $2.37 billion and gross profits of approximately $1.3 billion

 between 2017 and 2021 (over half of which has been achieved since early 2020).

        34.       Key to Bang’s growth and success has been Defendants’ use of social media

 platforms, including most notably TikTok and Instagram, to promote Bang’s products:

                 Bang’s TikTok account (username @bangenergy) has approximately 1.5 million

                  followers and 4.4 million likes.

                 Owoc’s TikTok account (username @bangenergyceo) separately has in excess of

                  850,000 followers and has garnered more than 2 million likes.

                 Bang’s Instagram account (username @bangenergy) has 2.3 million followers.

                 Owoc’s Instagram account (username @bangenergy.ceo) separately has 1.1

                  million followers.

                 Defendants’ Facebook account (username @BANGenergy) has over 104,000

                  followers and nearly 100,000 likes.

                 Bang uses several additional social media accounts to promote its energy

                  products, including TikTok accounts with the usernames @redline.energy,

                  @stoked.beverage, and @noofuzion, and Instagram accounts with the usernames

                  @redline_energy, @stokedbeverage, and @noofuzion, among many others.

        35.       Video “commercials” posted to these accounts have been essential to Defendants’

 success. Indeed, virtually every article written about Bang references Bang’s social media

 presence as one – if not the – reason for Bang’s massive growth. See, e.g., “How Bang Energy’s

 flashy, neon world of influencers conquered TikTok,” Morning Brew (available at

 https://www.morningbrew.com/daily/stories/bang-energy-conquered-tik-tok) (noting that “[t]he

 beverage company has leveraged social media fame into millions in sales”); “How Bang Energy

 Drink Influencers Tap Into Gen Z to Generate $300 Million in Sales,” Extole (available at

 https://www.extole.com/blog/how-bang-energy-drink-influencers-tap-into-gen-z-to-generate-




                                                     6
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 7 of 20



 300-million-in-sales/) (reporting that Bang achieved record sales in 2020 through its social

 media/influencer marketing strategy, “while spending just $2,200 on traditional media”); “Why

 Bang      Energy    Is   Pioneering   Influencer       Marketing,”   Asian   Blurb   (available   at

 https://www.asianblurb.com/bang-energy/) (noting that “influencer-based projects have given

 the Bang brand its social media edge”).

          36.     The Bang Videos rely heavily on commercial music – including the Copyrighted

 Musical Works – as a critical element in promoting Bang’s products. The Bang Videos typically

 depict individuals showcasing one or more of Bang’s energy drinks or supplements,

 synchronized to an audio track of a popular commercially available sound recording and musical

 composition. The audio tracks generally run the full length of the Bang Videos and the Bang

 Videos typically include the most familiar portion of the featured sound recording and musical

 composition.

          37.     Many of these Bang Videos were initially created by social media influencers –

 third parties who have garnered a substantial audience of “followers,” and whom Bang

 compensates by, among other things, providing free, new, or yet-to-be-released products that the

 influencers can feature in their videos and/or by providing monetary compensation either directly

 or through commissions and/or rebates. In addition to actively supporting the creation and

 posting of these Bang Videos to the influencers’ own social media accounts, Defendants review,

 select, and repost certain of the influencer-created Bang Videos on Defendants’ own social media

 pages.

          38.     Among Defendants’ influencer collaborators are well-known individuals such as

 Michael Le, who has 51.9 million TikTok followers, and Q Park (nee Joyce Tanner), who has

 33.8 million TikTok followers, both of whom have created videos that infringe Copyrighted

 Musical Works, as well as micro-influencers known to “sport vibrant outfits with the Bang logo

 and create fun dance videos or skits with the products.”2



 2
     See https://neoreach.com/bang-energy-campaign-teardown/ (last visited August 26, 2022).



                                                    7
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 8 of 20



        39.     Bang seeks and maintains its relationships with these social media influencers

 through, among other things, its “Bang Influencers” Marketing Program.3              The “Bang

 Influencers” are tasked with developing and posting “unique and remarkable content across all

 social media platforms.”4 Bang has written agreements with at least some of these third parties

 – and is willing to pay significant sums for influencer videos.5 In turn, “Bang owns the videos

 that Bang Influencers create under their agreement, either through a work for hire arrangement

 or assignment to Bang.” UMG Recordings, Inc. v. Vital Pharms., Inc., No. 21-CV-60914-CIV,

 2022 WL 2670339, at *2 (S.D. Fla. July 11, 2022) (“UMG”). “Under the terms of Bang’s

 agreements with the Influencers, the Influencers are subject to Bang’s supervision, direction, and

 control with respect to the promotion of Bang.” Sony Music Entertainment v. Vital Pharms.,

 Inc., No. 21-CV-22825-WPD, slip op. at 4-5 (S.D. Fla. Sept. 14, 2022) (“Sony”).

        40.     As a condition for compensation, “Bang instructs influencers to submit their

 videos to Bang’s Influencer Program auditioning team with links to any music, and it’s the

 auditioning team’s responsibility to ensure that the Bang Videos conform to Bang’s Social Media

 Guidelines.” UMG, 2022 WL 2670339, at *2. To that end, Bang employs professional staff –

 the “Influencer Program” team – whose responsibilities include reviewing and selecting those

 videos and working with and overseeing the influencers with whom Bang partners, which

 includes advising on content. Id.

        41.     Bang’s Social Media Guidelines “define what Bang Influencers must include in

 their videos, including consuming the product on camera, ensuring that the logo is facing the

 camera, and what to wear.” Id. at *3. The Social Media Guidelines also “require Bang


 3
   See https://bangenergycasting.com/what-does-it-take/ (last visited August 26, 2022); see also
 https://www.linkedin.com/in/isabel-bolivar-40b5b8148/ (listing the various roles in Bang’s
 Influencer Program, including “Program Manager” and “Recruitment Manager”) (last visited
 August 26, 2022); see also https://www.linkedin.com/in/jasmine-jane-mellor-421093166/ (listing
 various roles in Bang’s Influencer Program, including “Influencer Recruitment Coordinator”) (last
 visited August 26, 2022).
 4
   See https://bangenergycasting.com/what-does-it-take/ (last visited August 26, 2022).
 5
    See https://www.insider.com/tana-mongeau-youtuber-said-she-turned-down-2-million-from-
 bang-energy-2019-11 (“YouTuber Tana Mongeau told her subscribers that she turned down a $2
 million sponsorship deal from the drink company Bang Energy.”) (last visited August 26, 2022).



                                                  8
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 9 of 20



 Influencers to ‘tag’ Defendants in their TikTok posts ‘in order to receive compensation.’” Id.

 Bang “insists that it is ‘really important’ that Bang Influencers tag Bang and Owoc in their videos

 so that Bang stays ‘relevant with [its] fans.’” Id. Notably, Bang’s Social Media Guidelines for

 2020, 2021, and 2022 do not prohibit the use of copyrighted music in videos posted by the Bang

 Influencers. Id.

        42.      The Bang Videos routinely infringe WMG’s copyrights in the Copyrighted

 Musical Works. For example, Figure 1 is a screen capture from a Bang Instagram post that

 contains a video featuring “Rock Yo Hips” by WMG recording artist Crime Mob. The video

 shows a lineup of various flavors of Bang energy drink, while the Bang influencer dances and lip

 synchs along to the lyrics “thirty-two flavors” and “raspberry, grape, cherry” – all of which are

 Bang flavors:




                                             FIGURE 1

        43.      Similarly, Figure 2 is a screen capture from one of Owoc’s Instagram posts

 featuring “Cupid Shuffle” by WMG recording artist Cupid. The video depicts two Bang

 influencers, wearing Bang clothing and in front of a Bang-decorated jeep, dancing the “Cupid

 Shuffle,” a dance made popular by the infringed WMG recording:




                                                  9
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 10 of 20




                                         FIGURE 2

         44.     Likewise, Figure 3 is a screen capture from a Bang TikTok post featuring the

  WMG musical composition “Holiday” performed by Lil Nas X. The video promotes “holiday

  shoot ideas” while the influencers go thrift store shopping for a holiday outfit:




                                          FIGURE 3

         45.     Figure 4 is a screen capture from a Bang Instagram post promoting Bang’s “Bang

  Shot” beverage, featuring models posing with and drinking Bang Shots, which uses the WMG

  musical composition “Shots” performed by LMFAO and Lil Jon; the corresponding Instagram

  post includes a “limited offer” promoting a discounted price for Bang Shots as well as free Bang

  merchandise to purchasers:



                                                   10
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 11 of 20




                                               FIGURE 4

         46.     Recognizing the importance of the music to the social media posts, Defendants

  often specifically identify the featured sound recording and/or musical composition, as reflected

  in the examples shown in Figure 2 (calling out Defendants’ unauthorized use of WMG’s sound

  recording “Cupid Shuffle” embodying Cupid’s performance) and Figure 3 (calling out

  Defendants’ unauthorized use of WMG’s musical composition “Holiday” performed by Lil Nas

  X).

         47.     Likewise, the Bang Videos routinely identify and promote the particular Bang

  products that are being showcased and/or specifically call out and promote other Bang products,

  services or specials. For example, Figure 1 (featuring unauthorized use of WMG’s sound

  recording “Rock Yo Hips” by Crime Mob) and Figure 2 (featuring unauthorized use of WMG’s
  sound recording “Cupid Shuffle” by Cupid) call out and tag the Bang energy drink NooFuzion

  and Figure 4 (featuring unauthorized use of WMG’s musical composition “Shots” performed by

  LMFAO and Lil Jon) promotes a “limited offer” on Bang Shots.

         48.     Defendants have generated global brand awareness for Bang and billions of

  dollars in sales through the ubiquity and effectiveness of the infringing Bang Videos, many of

  which have received millions of views.




                                                  11
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 12 of 20



         49.     Defendants achieved that success through blatant, willful, and repeated copyright

  infringement of content owned by record labels and music publishers, including infringement of

  Plaintiffs’ most popular and valuable sound recordings and musical compositions. Indeed,

  although Defendants routinely and prominently feature WMG’s Copyrighted Musical Works in

  Bang Videos, they have paid nothing for the right to use those works. Instead, they simply stole

  the Copyrighted Musical Works and reaped the benefits of their use without ever accounting to

  WMG.

         50.     Attached as Exhibit A is an initial list of sound recordings and musical

  compositions of which the identified Plaintiff is an owner or exclusive licensee in the United

  States of rights under copyright, which rights have been infringed by Defendants. Each listed

  sound recording and musical composition either: 1) is registered in the United States Copyright

  Office; or 2) is a sound recording fixed before February 15, 1972, and included on a schedule

  filed with the Copyright Office pursuant to the Orrin G. Hatch-Bob Goodlatte Music

  Modernization Act.     Plaintiffs’ investigation continues, and discovery is likely to reveal

  additional infringements of Plaintiffs’ copyrighted sound recordings and musical compositions.

  Plaintiffs intend to seek leave to amend this Complaint at an appropriate time to provide an

  expanded list of works infringed by Defendants.

         51.     Moreover, Defendants’ infringement was clearly willful. Among other things, the

  social media platforms on which the infringing Bang Videos were posted expressly state that

  users have no right to infringe music, particularly in connection with commercial activities.

         52.     For example, the Instagram Terms of Use incorporate Music Guidelines, which

  are maintained in the “Legal” section of the Meta website. Those Music Guidelines expressly

  provide as follows: “Use of music for commercial or non-personal purposes in particular is

  prohibited unless you have obtained appropriate licenses.”6 These specific prohibitions have

  been incorporated in the Instagram and Meta Terms of Use since at least May 2018.

  6
   Terms of Use, Instagram, http://help.instagram.com/581066165581870 (incorporating Music
  Guidelines)   (last   visited   August      26,   2022);    Music    Guidelines, Facebook,
  https://www.facebook.com/legal/music_guidelines (last visited August 26, 2022).



                                                  12
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 13 of 20



          53.     Similarly, the TikTok Terms of Service unequivocally state that no rights are

  granted respecting use of sound recordings and musical works:

          NO RIGHTS ARE LICENSED WITH RESPECT TO SOUND
          RECORDINGS AND THE MUSICAL WORKS EMBODIED THEREIN
          THAT ARE MADE AVAILABLE FROM OR THROUGH THE
          SERVICE.7
  The foregoing language has been included in TikTok’s Terms of Service since at least February

  2019.

          54.     Moreover, since at least August 2020, TikTok has affirmatively required end-

  users (such as Defendants) to confirm, before posting a video, that they “have received all

  necessary rights (including publishing rights and master recording rights) to use any music in

  [the] video”:




                                              FIGURE 5
          55.     The posting of Bang Videos to the social media accounts of Bang and its

  influencers, despite these express prohibitions, is the essence of willful infringement.




  7
   Terms of Service, TikTok, https://www.tiktok.com/legal/terms-of-service?lang=en (last visited
  August 26, 2022).



                                                   13
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 14 of 20



           56.    In April 2021, WMG first discovered the extensive infringement of the

  Copyrighted Musical Works in Defendants’ social media videos when record companies and

  music publishers affiliated with Universal Music Group (“UMG”), another major music

  company, sued Defendants in this Court.8         Shortly thereafter, on August 3, 2021, record

  companies affiliated with Sony Music Entertainment (“Sony”), another major music company,

  separately filed suit against Defendants in this Court.9

           57.    On July 9, 2021, WMG demanded in writing that Defendants cease and desist

  from their infringement of WMG’s Copyrighted Musical Works. Defendants’ infringement

  nonetheless persisted, even in the face of two lawsuits and WMG’s cease-and-desist letter.

  Although Defendants eventually disabled access to certain infringing Bang Videos, other

  infringing Bang Videos identified in WMG’s cease-and-desist letter remained up for over a year.

  Moreover, even after receiving WMG’s cease-and-desist letter, Bang posted multiple new Bang

  Videos featuring the same Copyrighted Musical Works previously identified. Defendants’

  continued and additional infringement following receipt of WMG’s cease-and-desist letter (not

  to mention the lawsuits filed by UMG and Sony) is further compelling evidence of willfulness.

           58.    On July 11, 2022, U.S. District Judge William P. Dimitrouleas granted UMG

  partial summary judgment in its action against Defendants, finding it “undisputed that Bang

  posted 140 TikTok videos utilizing portions of [UMG’s] copyrighted works,” and concluding

  that Defendants were liable for direct copyright infringement as a matter of law. See UMG, 2022

  WL 2670339, at *2. Similarly, on September 14, 2022, Judge Dimitrouleas granted Sony partial

  summary judgment in its action against Defendants, concluding that Defendants were liable for

  both direct and vicarious copyright infringement as a matter of law. See Sony, slip op. at 15, 24.

                           COUNT I: COPYRIGHT INFRINGEMENT
                              (AGAINST ALL DEFENDANTS)
           59.    Plaintiffs incorporate paragraphs 1 through 58 of this Complaint as if fully set

  forth herein.

  8
      UMG Recordings, Inc. v. Vital Pharms., Inc., No. 21-CV-60914-CIV.
  9
      Sony Music Entertainment v. Vital Pharms., Inc., No. 21-CV-22825-WPD.



                                                   14
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 15 of 20



         60.      Defendants’ creation, posting/reposting, and/or streaming of the Bang Videos

  infringe Plaintiffs’ copyrights in the Copyrighted Musical Works.             Among other things,

  Defendants have unlawfully reproduced, prepared derivative works from, distributed, publicly

  performed, and/or publicly performed by means of a digital audio transmission the copyrighted

  works listed on Exhibit A in violation of 17 U.S.C. § 106(1), (2), (3), (4) and/or (6).

         61.      Defendants’ acts of infringement are knowing, deliberate, willful, and in utter

  disregard for Plaintiffs’ rights.

         62.      As a direct and proximate result of Defendants’ infringement of Plaintiffs’

  copyrights and exclusive rights under copyright, Plaintiffs are entitled to their actual damages,

  including Defendants’ profits from infringement, in amounts to be proven at trial, pursuant to 17

  U.S.C. § 504(b). In the alternative, at Plaintiffs’ election pursuant to 17 U.S.C. § 504(c),

  Plaintiffs are entitled to the maximum statutory damages in the amount of $150,000 with respect

  to each work infringed, or such other amounts as may be proper under 17 U.S.C. § 504(c).

         63.      Plaintiffs are entitled to their costs, including reasonable attorneys’ fees, pursuant

  to 17 U.S.C. § 505.

         64.      Defendants’ conduct is causing, and, unless enjoined by this Court, will continue

  to cause Plaintiffs great and irreparable injury that cannot be fully compensated or measured by

  monetary damages. Plaintiffs have no adequate remedy at law. Pursuant to 17 U.S.C. § 502,

  Plaintiffs are entitled to a permanent injunction prohibiting the infringement of Plaintiffs’

  copyrights and exclusive rights under copyright.
                         COUNT II: CONTRIBUTORY INFRINGEMENT
                              (AGAINST ALL DEFENDANTS)
         65.      Plaintiffs incorporate paragraphs 1 through 58 of this Complaint as if fully set

  forth herein.

         66.      As detailed above, the third-party influencers who created Bang Videos have

  likewise infringed Plaintiffs’ copyrights in the Copyrighted Musical Works, and Defendants are

  liable as contributory copyright infringers for the infringing acts of these influencers.

  Additionally, or alternatively, Defendants are liable as contributory copyright infringers by



                                                    15
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 16 of 20



  making the Bang Videos available to the users and subscribers of the social media platforms on

  which the Bang Videos were posted.

         67.      By promoting and/or assisting with the creation of the infringing Bang Videos

  and/or by causing them to be copied, made available, and transmitted over Defendants’ social

  media accounts referenced above, Defendants materially contribute to the infringing

  reproduction, preparation of derivative works from, distribution, and/or public performance of

  the copyrighted works contained in the Bang Videos, including but not limited to the Copyrighted

  Musical Works listed in Exhibit A. Defendants have actual and constructive knowledge of such

  infringement, including actual or constructive knowledge that no Plaintiff granted the rights to

  include such Copyrighted Musical Works in the Bang Videos. In addition, Defendants have

  induced such infringement, including by promoting such infringement through the compensation

  paid to social media collaborators and other influencers, reposting the infringing videos, and

  calling out sound recordings and musical compositions used in the infringing Bang Videos.

         68.      Defendants’ acts of contributory infringement are knowing, deliberate, willful,

  and in utter disregard for Plaintiffs’ rights.

         69.      As a direct and proximate result of Defendants’ contributory infringement of

  Plaintiffs’ copyrights and exclusive rights under copyright, Plaintiffs are entitled to their actual

  damages, including Defendants’ profits from infringement, in amounts to be proven at trial,

  pursuant to 17 U.S.C. § 504(b). In the alternative, at Plaintiffs’ election pursuant to 17 U.S.C.

  § 504(c), Plaintiffs are entitled to the maximum statutory damages in the amount of $150,000

  with respect to each work infringed, or such other amounts as may be proper under 17 U.S.C.

  § 504(c).

         70.      Plaintiffs are entitled to their costs, including reasonable attorneys’ fees, pursuant

  to 17 U.S.C. § 505.

         71.      Defendants’ conduct is causing, and, unless enjoined by this Court, will continue

  to cause Plaintiffs great and irreparable injury that cannot be fully compensated or measured by

  monetary damages. Plaintiffs have no adequate remedy at law. Pursuant to 17 U.S.C. § 502,




                                                    16
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 17 of 20



  Plaintiffs are entitled to a permanent injunction prohibiting the contributory infringement of

  Plaintiffs’ copyrights and exclusive rights under copyright.
                            COUNT III: VICARIOUS INFRINGEMENT
                                (AGAINST ALL DEFENDANTS)
          72.     Plaintiffs incorporate paragraphs 1 through 58 of this Complaint as if fully set

  forth herein.

          73.     As detailed above, third-party influencers who created Bang Videos have likewise

  infringed Plaintiffs’ copyrights in the Copyrighted Musical Works, and Defendants are

  vicariously liable for the infringing acts of these influencers. Additionally, or alternatively,

  Defendants are liable as vicarious copyright infringers by making the Bang Videos available to

  the users and subscribers of the social media platforms on which the Bang Videos were posted.

          74.     Defendants have exercised the right, ability, and authority to control and supervise

  the placement of the Bang Videos on the social media platforms referenced above. Defendants

  also have the ability to remove the Bang Videos from each platform. Defendants receive a direct

  financial benefit from the infringing reproduction, preparation of derivative works from,

  distribution, and/or public performance of the copyrighted works contained in the Bang Videos,

  including but not limited to the Copyrighted Musical Works listed in Exhibit A, including (among

  other financial benefits) increased brand recognition and product sales.

          75.     Defendants’ acts of vicarious infringement are knowing, deliberate, willful, and

  in utter disregard for Plaintiffs’ rights.

          76.     As a direct and proximate result of Defendants’ vicarious infringement of

  Plaintiffs’ copyrights and exclusive rights under copyright, Plaintiffs are entitled to their actual

  damages, including Defendants’ profits from infringement, in amounts to be proven at trial,

  pursuant to 17 U.S.C. § 504(b). In the alternative, at Plaintiffs’ election pursuant to 17 U.S.C.

  § 504(c), Plaintiffs are entitled to the maximum statutory damages in the amount of $150,000

  with respect to each work infringed, or such other amounts as may be proper under 17 U.S.C.

  § 504(c).




                                                   17
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 18 of 20



         77.     Plaintiffs are entitled to their costs, including reasonable attorneys’ fees, pursuant

  to 17 U.S.C. § 505.

         78.     Defendants’ conduct is causing, and, unless enjoined by this Court, will continue

  to cause Plaintiffs great and irreparable injury that cannot be fully compensated or measured by

  monetary damages. Plaintiffs have no adequate remedy at law. Pursuant to 17 U.S.C. § 502,

  Plaintiffs are entitled to a permanent injunction prohibiting the vicarious infringement of

  Plaintiffs’ copyrights and exclusive rights under copyright.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

                 (a)    for a permanent injunction requiring that Defendants, and their officers,

                        agents, employees, attorneys, and others in active concert or participation

                        with each or any of them, cease infringing, or causing, enabling,

                        facilitating, encouraging, promoting, inducing, and/or participating in the

                        infringement of, any of Plaintiffs’ copyrights protected by the Copyright

                        Act, whether now in existence or hereafter created;

                 (b)    for Plaintiffs’ actual damages and Defendants’ profits from infringement,

                        pursuant to 17 U.S.C. § 504(b), in amounts to be proven at trial, or, in the

                        alternative, at Plaintiffs’ election pursuant to 17 U.S.C. § 504(c), for

                        maximum statutory damages in the amount of $150,000 per infringed

                        work, or such other amounts as may be proper under 17 U.S.C. § 504(c);

                 (c)    for Plaintiffs’ costs, including reasonable attorneys’ fees, pursuant to 17

                        U.S.C. §§ 505 and 1203(b)(4), (5) and otherwise;

                 (d)    for prejudgment and post-judgment interest; and




                                                   18
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 19 of 20



               (e)    for such other and further relief as the Court may deem just and proper.




   Date: September 15, 2022
                                                    By: /s/ Ian M. Ross
                                                       IAN M. ROSS
                                                       iross@sidley.com
                                                       Fla. Bar No. 091214
                                                       STEPHANIE PERAL
                                                       speral@sidley.com
                                                       Fla. Bar No. 119324
                                                       SIDLEY AUSTIN LLP
                                                       1001 Brickell Bay Drive, Suite 900
                                                       Miami, Florida 33131
                                                       Telephone: +1 305 391 5100

                                                       Rollin A. Ransom (pro hac vice to be filed)
                                                       rransom@sidley.com
                                                       Kristina Martinez (pro hac vice to be filed)
                                                       kmartinez@sidley.com
                                                       SIDLEY AUSTIN LLP
                                                       555 West Fifth Street, Suite 4000
                                                       Los Angeles, CA 90013
                                                       Telephone: +1 213 896 6000

                                                       Attorneys for Plaintiffs




                                               19
Case 1:22-cv-22951-RS Document 1 Entered on FLSD Docket 09/15/2022 Page 20 of 20



                                  DEMAND FOR JURY TRIAL

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby demand

  a trial by jury.

   Date: September 15, 2022
                                                      By: /s/ Ian M. Ross
                                                         Ian M. Ross
                                                         Attorney for Plaintiffs




                                                 20
